Case 2:15-ml-02668-PSG-SK Document 482 Filed 05/26/22 Page 1 of 3 Page ID #:8134



   1   Marc M. Seltzer (54534)                  Howard Langer (Pro Hac Vice)
       mseltzer@susmangodfrey.com               hlanger@langergrogan.com
   2   SUSMAN GODFREY L.L.P.                    LANGER GROGAN AND DIVER PC
       1900 Avenue of the Stars, Suite 1400     1717 Arch Street, Suite 4020
   3   Los Angeles, CA 90067-6029               Philadelphia, PA 19103
       Phone: (310) 789-3100                    Tel: (215) 320-5660
   4   Fax: (310) 789-3150                      Fax: (215) 320-5703
   5   Scott Martin (Pro Hac Vice)
       smartin@hausfeld.com
   6   HAUSFELD LLP
       33 Whitehall Street, 14th Floor
   7   New York, NY 10004
       Tel: (646) 357-1100
   8   Fax: (2121) 202-4322
   9
       [Additional Counsel on Signature Page]
  10
       Plaintiffs’ Co-Lead Counsel
  11

  12
                            UNITED STATES DISTRICT COURT
  13
                          CENTRAL DISTRICT OF CALIFORNIA
  14

  15   IN RE: NATIONAL FOOTBALL                 Case No. 2:15-ml-02668-PSG (JEMx)
       LEAGUE’S “SUNDAY TICKET”
  16   ANTITRUST LITIGATION                     DISCOVERY MATTER
  17   THIS DOCUMENT RELATES TO                 NOTICE OF LODGING OF
       ALL ACTIONS                              PROPOSED ORDER
  18
                                                Magistrate Judge: Hon. John E.
  19                                            McDermott
                                                Discovery Cutoff Date: 8/5/2022
  20                                            Pretrial-Conference Date: 2/9/2024
                                                Trial Date: 2/22/2024
  21

  22

  23

  24

  25

  26
  27

  28
Case 2:15-ml-02668-PSG-SK Document 482 Filed 05/26/22 Page 2 of 3 Page ID #:8135



   1         Pursuant to the Court’s May 23, 2022, Order denying the NFL Defendants’
   2   Motion to Compel Commercial Plaintiffs to Respond to Interrogatory No. 10 (Dkt.
   3   479) in the above-captioned matter, Plaintiffs hereby file this Notice of Lodging,
   4   attaching a proposed order reflecting the compromises Commercial Plaintiffs
   5   advanced in the parties’ May 17, 2022 Joint Status Report and requiring amended
   6   interrogatory responses.
   7

   8   DATED: May 26, 2022                  Respectfully submitted,

   9                                        By:      /s/ Marc M. Seltzer
  10                                                 Marc M. Seltzer

  11                                               Marc M. Seltzer (54534)
                                                   mseltzer@susmangodfrey.com
  12                                               SUSMAN GODFREY L.L.P.
                                                   1900 Avenue of the Stars, Suite 1400
  13                                               Los Angeles, CA 90067
                                                   Tel: (310) 789-3100
  14                                               Fax: (310) 789-3150

  15                                               Arun Subramanian (Pro Hac Vice)
                                                   asubramanian@susmangodfrey.com
  16                                               William C. Carmody (Pro Hac Vice)
                                                   bcarmody@susmangodfrey.com
  17                                               Seth Ard (Pro Hac Vice)
                                                   sard@susmangodfrey.com
  18                                               Tyler Finn (Pro Hac Vice)
                                                   tfinn@susmangodfrey.com
  19                                               SUSMAN GODFREY L.L.P
                                                   1301 Avenue of the Americas, 32nd Fl.
  20                                               New York, NY 10019
                                                   Tel: (212) 336-8330
  21                                               Fax: (212) 336-8340

  22                                               Ian M. Gore (Pro Hac Vice)
                                                   igore@susmangodfrey.com
  23                                               SUSMAN GODFREY L.L.P.
                                                   1201 Third Avenue, Suite 3800
  24                                               Seattle, WA 98101
                                                   Tel: (206) 505-3841
  25                                               Fax: (206) 516-3883

  26                                               Armstead Lewis (Pro Hac Vice)
                                                   alewis@susmangodfrey.com
  27                                               SUSMAN GODFREY L.L.P.
                                                   1000 Louisiana, Suite 5100
  28                                               Houston, TX 77002
                                                   Tel: (713) 651-9366
                                               1
Case 2:15-ml-02668-PSG-SK Document 482 Filed 05/26/22 Page 3 of 3 Page ID #:8136


                                                Fax: (713) 654-6666
   1
                                                Scott Martin (Pro Hac Vice)
   2                                            smartin@hausfeld.com
                                                HAUSFELD LLP
   3                                            33 Whitehall Street, 14th Floor
                                                New York, NY 10004
   4                                            Tel: (646) 357-1100
                                                Fax: (212) 202-4322
   5
                                                Christopher L. Lebsock (184546)
   6                                            clebsock@hausfled.com
                                                HAUSFELD LLP
   7                                            600 Montgomery St., Suite 3200
                                                San Francisco, CA 94111
   8                                            Tel: (415) 633-1908
                                                Fax: (415) 633-4980
   9
                                                Sathya S. Gosselin (269171)
  10                                            sgosselin@hausfeld.com
                                                Farhad Mirzadeh (Pro Hac Vice)
  11                                            fmirzadeh@hausfeld.com
                                                HAUSFELD LLP
  12                                            888 16th Street, N.W., Suite 300
                                                Washington, DC 20006
  13                                            Tel: (202) 540-7200
                                                Fax: (202) 540-7201
  14
                                                Howard Langer (Pro Hac Vice)
  15                                            hlanger@langergrogan.com
  16
                                                Edward Diver (Pro Hac Vice)
                                                ndiver@langergrogan.com
  17                                            Peter Leckman (235721)
                                                pleckman@langergrogan.com
  18                                            Kevin Trainer (Pro Hac Vice)
                                                ktrainer@langergrogan.com
  19                                            LANGER GROGAN AND DIVER PC
                                                1717 Arch Street, Suite 4020
  20                                            Philadelphia, PA 19103
                                                Tel: (215) 320-5660
  21                                            Fax: (215) 320-5703

  22                                            Plaintiffs’ Co-Lead Counsel
  23

  24

  25

  26
  27

  28

                                            2
